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                               IN THE UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF INDIANA
                                       INDIANAPOLIS DIVISION


SHANNON COLLEEN PORTER,                      )
                                             )
                  Plaintiff,                 )        CASE NO. 1:16-CV-01258-WTL-MPB
                                             )
       v.                                    )
                                             )
IMC CREDIT SERVICES, INC. d/b/a              )
STATEWIDE CREDIT ASSOCIATION,                )
INC.,                                        )
                                             )
                  Defendant.                 )

                                      ORDER OF DISMISSAL

       Plaintiff, Shannon Colleen Porter, by counsel and Defendant, IMC Credit Services, Inc.

d/b/a Statewide Credit Association, Inc., by counsel, having filed with this Court their Joint

Motion to Dismiss With Prejudice, and the Court having seen, examined and considered the

motion, now

       HEREBY ORDERS, ADJUDGES AND DECREES, this cause of action is dismissed

with prejudice.


Dated: 8/18/16                                   _______________________________
                                             Judge,
                                               Hon. United
                                                    WilliamStates  District Court
                                                             T. Lawrence,   Judge
                                             Southern District
                                               United States   of Indiana,
                                                             District Court
                                             Indianapolis Division
                                               Southern District of Indiana
DISTRIBUTION:

Peter A. Velde                                      Nathan C. Volheim
KIGHTLINGER & GRAY, LLP                             David S. Klain
One Indiana Square, Suite 300                       Consumer Law Partners, LLC
211 North Pennsylvania Street                       435 North Michigan Avenue, Suite 1609
Indianapolis, IN 46204                              Chicago, IL 60611
Email: pvelde@k-glaw.com                            Email: nate.v@consumerlawpartners.com
                                                    Email: davidklain@aol.com
